  Case 4:23-mj-05010-LSS
          Case 1:23-mj-00194-MAU
                          DocumentDocument
                                   3 Entered18-1
                                             on FLSD
                                                 FiledDocket
                                                       10/27/23
                                                             08/08/2023
                                                                 Page 1 ofPage
                                                                           1   1 of 1
                                           COURT M INUTES/ORDER
                         United States M agistràte Judge Lurana 5.Snow
                         courtroomlxeywestj                              Date:8/8/2023.                        Time:12:30PM
Defendant: Brvan RoRerBishoptl)                  J#:                    dase#:23-Mj-5010-LSS           .
       .       -                                  .


AUSA:ChristonherBrowne                                             Attorney: $,.> N        .
                                                                                                    Jjsv X -&
Violation: CivilDisorder;Assaulting,Resisting,orIm peding Certain Officerswith DeadlyW eapons
Proceeding:lnitialAppearance-Rule40/5Removal                             CJA Appt:             .
Bond/PTD Held:ICYes C'No                     Recom minded Bond: $100KPSB
Bond Setat: -h ltx k       -
                                      R                                   Co-signed by:
  . surrenderand/ordonotobtainpassports/traveldocs
 r'                            .
                                                                                  Language: English
  r ReporttoPTSas direded/or        x'saweek/monthby                              Disposition:
    phone:      x'saweek/monthinperson                                                              $. <            .
 Nc., Random urinetestingbyPretrialServices                                          h                     '
           Treatmentasdeemednecessaw                                                                   , 0<             o'
 NC' Refrainfromeycessiveusecfalcohol                                                      .    uo                                .
 NCL participateinmentalhealthassessment&treatment
       '
                                                                                           . Wj    ,                        .1
 RC' Maintainorseekfull-timeemployment/education                                                                    c
 RL' Nocontadwithvidims/witnesses                                                          '.,z.               s                 ç.
  r' Nofirearms                                                                            .G

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  r7Nottoencumberpropert
  C                    y
       ' M ay notvisittransportation establishm ents           .
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  ES Curfew                        om to         am .Daid bv
  nrq Allowhances:Medicalneeds,courtappearances,attorneyvisits,                                    k                --           .
           reiigious,employment
  Nr'Travelextendedto:                                                                         '                        -
  r other:              vr- '                                                                      - - . @- -
 NEU COURT APPEAM NCE oate:                           Tim e:             ludge:                            Place:

 ReportRE Counsel:
 PTD/BondHearing:                                                                                  '                                  '
 Prelim/ArraignorRemoval:.
 StatusConference RE:
 DA.R.'l2 '
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            '..Q(
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                )                                                                 Timeind.ourt.: Jo -àrvx.
       CHECKIFAPPUR BLE:. Forthereasonsstatedbycounselforthe Y fendantandflndlngthatth:endsofjustk:served by
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             'gtheoretenusmotlonfortontlnuantetohlretounseloulwelghthebçs:Interestsofthepublic& theY fendantIna
       Speedy Trial,the Eourtfindsthatthe periôd oftim efrom todaw through and Ihcluding               ,shallbe deemed
       exdudableInattordancewi
                             ththeprovisionsoftheSpeedyTrlalAtt,18USc3161e1seti..                              '
